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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

META PLATFORMS, INC.,

                         Plaintiff,

            v.

THE FEDERAL TRADE COMMISSION,

– and –                                                    Case No. 1:23-cv-3562

LINA M. KHAN, REBECCA KELLY
SLAUGHTER, and ALVARO BEDOYA,
in their official capacities as Commissioners
of the Federal Trade Commission,

Defendants.


                              PLAINTIFF’S SURREPLY IN
                    RESPONSE TO DEFENDANTS’ MOTION TO DISMISS1

          Plaintiff Meta Platforms, Inc. (“Meta”) respectfully submits this surreply in response to

Defendants’ Motion to Dismiss (Dkt. 18). In their reply, Defendants (the “Commission” or the

“FTC”) assert that Meta is not entitled to injunctive relief on its Article II challenge to the

Federal Trade Commission Act’s (“FTC Act”) protection of Commissioners against removal by

the President (15 U.S.C. § 41). Instead, the FTC argues, if the Court upholds Meta’s challenge,

the removal protections “should be severed” from the statute. (Dkt. 22 at 10–11.) That

argument, an apparent afterthought in two rounds of briefing,2 lacks merit.

          The FTC’s severance argument disregards the nature of Meta’s challenge. As Meta has

shown, the post-Humphrey’s Executor amendments to the FTC Act expanding the Commission’s

executive authority (e.g., the 1938 amendments authorizing the Commission to modify certain of


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    In quotations, internal quotation marks and citations have been omitted.
2
    See Dkt. 23 (Plaintiff’s Motion for Leave to File Surreply) at 2.


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its orders and to seek civil penalties in federal court to enforce its orders, and the 1973

amendments authorizing the Commission to seek injunctive relief in federal court) rendered

unconstitutional the protections against removal. (Dkt. 4-1 at 20–22; Dkt. 20 at 25–27.) The

Commission ignores that where, as here, “Congress add[s] an unconstitutional amendment to a

prior law,” the Court should “trea[t] the original, pre-amendment statute as the valid expression

of the legislative intent,” and sever the amendment, which “is a nullity and void when enacted.”

Barr v. Am. Ass’n of Pol. Consultants, Inc., 140 S. Ct. 2335, 2353 (2020) (plurality opinion)

(quoting Frost v. Corp. Comm’n of Okla., 278 U.S. 515, 526-27) (1929)); accord Lindenbaum v.

Realgy, LLC, 13 F.4th 524, 528 n.2 (6th Cir. 2021).

       Under longstanding Supreme Court law, the subsequent amendment must be severed, and

not the removal restrictions that were part of the statute when enacted and that were upheld in

Humphrey’s Executor. See FTC Act, Pub. L. No. 63-203 § 1, 38 Stat. 717, 718 (1914). Indeed,

Humphrey’s Executor emphasizes that the removal restrictions reflect Congress’s intent to

elevate the Commission’s independence from the President over its exercise of executive

authority (and accountability). See, e.g., 295 U.S. 602, 625 (1935) (“[T]he prevailing view [in

Congress] was that the Commission was … to be … not subject to the orders of the President.”);

id. at 625-26 (discerning “Congressional intent to create … a body which shall be independent of

executive authority, except in its selection”) (emphasis omitted). In these circumstances,

severing the removal restrictions—as opposed to the subsequent amendments that rendered them

unconstitutional—would “circumvent the intent of the legislature.” Ayotte v. Planned

Parenthood of N. New England, 546 U.S. 320, 330 (2006). Thus, the injunctive relief sought by

Meta is warranted because the Constitution displaces the post-Humphrey’s Executor grants of

executive authority rather than the removal restrictions upheld in Humphrey’s Executor.




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       The FTC erroneously relies on Free Enterprise Fund v. PCAOB in which the Supreme

Court severed the provisions of the Sarbanes-Oxley Act of 2002 protecting members of the

Public Company Accounting Oversight Board (PCAOB) against removal. See 561 U.S. 477,

509 (2010). But those removal protections were enacted at the same time as the structural

features of the agency that rendered the removal protections unconstitutional. See id. at 508–09.

Here, in contrast, the challenged removal protections—which were upheld in Humphrey’s

Executor—were rendered unconstitutional by subsequent grants of executive authority that were

“a nullity and void when enacted.” Barr, 140 S. Ct. at 2353.

       The FTC also cites Space Exploration Technologies, Corp. v. Bell, 2023 WL 8885128, at

*5 (S.D. Tex. Nov. 8, 2023), but, as in Free Enterprise, there was no issue in SpaceX regarding

subsequent statutory amendments that rendered removal protections unconstitutional. The last

case on which the FTC relies, FTC v. Walmart Inc., 2023 WL 2646741, at *26 (N.D. Ill. Mar.

27, 2023), is not persuasive. The decision relies on the presence of a severability clause in the

FTC Act, but where, as here, a court is “confronted with two provisions that operate together to

violate the Constitution, the text of the severability clause provides no guidance as to which

provision should be severed.” Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2223 (2020) (Thomas,

J., concurring in part and dissenting in part). As shown above, fidelity to Congress’s intent

requires that the subsequent amendments, and not the removal provisions, be severed.3

       In the end, the FTC cites no case in which any court has severed a provision of

Congress’s original enactment and maintained the subsequent amendment which caused the


3
 The Walmart court’s contrary conclusion rested on questioning whether Humphrey’s Executor
was correctly decided. See 2023 WL 2646741, at *26 (“[T]he Humphrey’s Executor Court may
not have accurately assessed the FTC’s executive powers as they existed in 1935.”). But it is not
within the district court’s authority to question Humphrey’s Executor (and, contrary to the
Commission’s mischaracterizations elsewhere, Meta does not ask this Court to do so).


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constitutional defect in the first place.4

        As a result, the Commission has not negated Meta’s showing that it is entitled to

injunctive relief on its Article II claim.5




4
  The Commission appears to be arguing that severability precludes Meta’s request for a
preliminary injunction. (Dkt. 22 at 3–4 & n.2.) That argument fails because it is “a question of
remedy” which provisions might be severed ultimately. Ayotte, 546 U.S. at 328. Meta also
seeks declaratory relief, so the ultimate severability of any FTC Act provision does not detract
from Meta’s likely success on its Article II claim or from the irreparable harm from subjecting
Meta to structurally unconstitutional agency adjudication in the interim.
5
  The FTC’s reply also asserts, for the first time, that Section 5(b) of the FTC Act “authoriz[es]
the Commission to modify ‘any’ FTC administrative order.” (Dkt. 22 at 14-15.) That issue is
currently being contested before the D.C. Circuit in United States v. Facebook, Inc., No. 23-5280
(D.C. Cir.). The FTC argues that Meta has “no support” for its position that “the Commission
can only ‘pursue modification of previously issued, litigated cease-and-desist order.’” (Dkt. 22
at 15 n.4 (quoting Dkt. 20 at 27).) Meta’s statement that Section 5(b) “authorize[s] the
Commission to pursue modification of previously issued, litigated cease-and-desist orders” was
intended solely to avoid any suggestion that Meta has conceded the issue here. (Dkt. 20 at 27.)
Whether Section 5(b) authorizes the FTC to modify “any” of its orders (as the Commission
argues) or only “Commission orders issued on a litigated or stipulated record” (as set forth in 16
C.F.R. § 2.32(c)) is not relevant to this action, which raises only constitutional claims, and, in
any event, the question is now properly before the D.C. Circuit.



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DATED: January 25, 2024          Respectfully submitted,

                                 /s/ James P. Rouhandeh

                                 James P. Rouhandeh (DDC Bar No. NY0390)
                                 Michael Scheinkman (DDC Bar No. NY0381)
                                 David B. Toscano (pro hac vice forthcoming)
                                 John A. Atchley III (pro hac vice
                                 forthcoming)
                                 DAVIS POLK & WARDWELL LLP
                                 450 Lexington Avenue
                                 New York, New York 10017
                                 Tel: (212) 450-4000
                                 Email: rouhandeh@davispolk.com

                                 Paul J. Nathanson (DDC Bar No. 982269)
                                 DAVIS POLK & WARDWELL LLP
                                 901 15th St., NW
                                 Washington, DC 20005
                                 Tel: (202) 962-7000
                                 Email: paul.nathanson@davispolk.com

                                 Attorneys for Plaintiff Meta Platforms, Inc.




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